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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                    Plaintiff(s),              CASE NUMBER: 05-80025
                                               HONORABLE VICTORIA A. ROBERTS
v.

D-1 TIMOTHY DENNIS O’REILLY,

                Defendant(s).
_________________________________/

           ORDER: (1) DENYING WITHOUT PREJUDICE DEFENDANT’S
     MOTION TO EXCLUDE GOVERNMENT WITNESS ZOUELFIKAR NEHMEH; (2)
     DENYING DEFENDANT’S MOTION FOR INDEFINITE CONTINUANCE; and (3)
       DENYING DEFENDANT’S REQUEST FOR AN EVIDENTIARY HEARING

       On November 1, 2006, the Government filed a Notice of Intent to Seek the Death

Penalty as to Timothy Dennis O’Reilly. In the Notice, the Government alleges:

       Future Dangerousness: Defendant stated that he planned to commit
       additional robberies when he is released from prison. Defendant stated
       that he intends to kill the witnesses who testified against co-defendant
       Norman Duncan when released from prison. Defendant also stated that
       he would have killed co-defendant Earl Johnson after the Dearborn Credit
       Union robbery if he would have known how Johnson would handle his
       share of the proceeds.

       In 2008, O’Reilly had several conversations with Zouelfikar Nehmeh, a

Government witness, regarding an alleged murder-for-hire plot.

       During the penalty phase and as evidence of O’Reilly’s future dangerousness,

the Government wants to introduce the testimony of Nehmeh, coded letters, and notes

containing identifying information for three Government witnesses O’Reilly allegedly

asked Nehmeh to kill. In an e-mail dated December 28, 2009, the Government said it



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will not introduce the alleged murder-for-hire plot during the guilt phase.

       Before the Court is O’Reilly’s “Motion to Exclude Government Witness Zouelfikar

Nehmeh.” (Doc. #396). O’Reilly asks the Court to exclude Nehmeh’s testimony from

the penalty phase because his testimony lacks probative value, is too prejudicial and/or

confusing, and is too unreliable to be introduced at the penalty phase.

       Also before the Court is O’Reilly’s “Motion for Indefinite Continuance Pending

Completion by the Prosecution of the Nehmeh/O’Reilly Murder for Hire Investigation

and the Trial of any Charges Brought as a Result of that Investigation.” (Doc. #395).

O’Reilly asks the Court for an indefinite continuance pending the completion of the

Government’s investigation of his alleged involvement in a murder-for-hire plot, and the

trial of any charges brought against him. In essence, O’Reilly says his trial must be

delayed until a resolution is reached on the alleged murder-for-hire plot, because

unadjudicated criminal offenses must be excluded from the penalty phase of a capital

trial as unreliable.

       In the alternative, O’Reilly asks the Court to exclude all evidence from the penalty

phase that relates to the alleged murder-for-hire plot.

       O’Reilly’s motion to exclude Nehmeh is DENIED WITHOUT PREJUDICE; his

motion for indefinite continuance is DENIED.

       Unadjudicated criminal offenses are inherently unreliable because “no untainted

jury, utilizing the Federal Rules of Evidence and the requisite burdens of proof, has

found the defendant guilty.” United States v. Bradley, 880 F.Supp. 271, 287 (M.D. Pa.

1994). Accordingly, although in death penalty cases, the jury may consider “whether



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any [non-statutory] aggravating factor . . . exists,” 18 U.S.C. §3592(c), unadjudicated

criminal conduct must first meet a threshold test of reliability. See United States v.

Beckford, 964 F.Supp. 993, 1000 (E.D. Va. 1997) (citing United States v. Davis, 912

F.Supp. 939, 949 (E.D. La. 1996); Bradley, 880 F.Supp. at 287; United States v.

Walker, 910 F.Supp. 837, 853-54 (N.D.N.Y. 1995)).

       In an e-mail dated December 22, 2009, the Government indicated that it provided

defense counsel all of the evidence (of which it is aware), that it intends to introduce

relating to O’Reilly’s alleged murder-for-hire plot with Nehmeh. In response to an e-mail

from defense counsel dated December 28, 2009, the Government said it will expedite

the additional discovery defense counsel requested – including a complete transcript of

the Nehmeh recording, a copy of the redacted transcript the Government taint team

provides the Assistant United States Attorneys (“AUSAs”), and the redacted audio tape

the taint team provides the AUSAs.

       If there is a penalty phase, the Court will hold an evidentiary hearing before it

begins. Based on the evidence presented at that hearing, the Court will decide whether

the evidence is reliable. The Court will also decide whether the evidence meets the

“future dangerousness” test. See Doc. #432.

       There is no reason to delay the trial for an indefinite period of time. The trial will

proceed on June 1, 2010.

       O’Reilly renews his request for an evidentiary hearing, and specifically asks the

Court to hear evidence concerning his transfer from general population to the special

housing unit at FCI Milan. (Doc. #425). This Request does not persuade the Court to

hold an evidentiary hearing in advance of trial. The issues raised in O’Reilly’s Request

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can be addressed at the evidentiary hearing discussed above. If the Court allows the

Government to present the alleged murder-for-hire evidence, O’Reilly may present

evidence and argument to rebut such evidence – including his argument that the

Government and/or the Bureau of Prisons did not believe O’Reilly’s alleged murder-for-

hire plot with Nehmeh was genuine.

       IT IS ORDERED.

                                                 S/Victoria A. Roberts
                                                 Victoria A. Roberts
                                                 United States District Judge

Dated: December 30, 2009

 The undersigned certifies that a copy of this
 document was served on the attorneys of
 record by electronic means or U.S. Mail on
 December 30, 2009.

 s/Carol A. Pinegar
 Deputy Clerk




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